Case 1:18-cr-00025-JPJ-PMS Document 670 Filed 07/30/19 Page 1 of 1 Pageid#: 10760
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         ANDREA NICOLE STICKEL                 )
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                                               Respectfully Subm itted
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